                    IN THE UNITED STATES DISTRICT COURT
               FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                            CHARLOTTE DIVISION
                               3:00-CR-000023-6

UNITED STATES OF AMERICA,                 )
                                          )
v.                                        )           ORDER
                                          )
JAVONNA CHERISE MARSHALL,                 )
                                          )
and                                       )
                                          )
CAROLINA CLIPPERS INC, T/A GREAT CLIPS, )
                        Garnishee.        )
______________________________________________________________________________


                       DISMISSAL OF WRIT OF GARNISHMENT

      Upon motion of the United States for the reasons stated therein and for good cause shown,

it is ORDERED that the Writ of Garnishment filed in this case against the defendant Javonna

Cherise Marshall is DISMISSED.




                                              Signed: July 15, 2010




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